         Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 1 of 24


1    PAUL DAVID MAROTTA (State Bar No. 111812)
     MEGAN JEANNE (State Bar No. 251294)
2    THE CORPORATE LAW GROUP
     1342 ROLLINS ROAD
3    BURLINGAME, CA 94010
     Telephone:   (650) 227-8000
4    Facsimile:   (650) 227-8001
     paul@tclg.com
5    megan@tclg.com
6    Attorneys for Plaintiff
     MENTOR CAPITAL, INC.
7

8
                                      UNITED STATES DISTRICT COURT
9
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
       MENTOR CAPITAL, INC.,                             )    Civil Action No. 3:14-cv-03630-LB
11
                                                         )
12            Plaintiff.                                 )    DECLARATION OF CHET
                                                         )    BILLINGSLEY IN SUPPORT OF
13                              v.                       )    MENTOR CAPITAL, INC.’S
                                                         )    MOTION TO APPOINT A
14     BHANG CHOCOLATE COMPANY, INC., a                  )    RECEIVER
15
       Nevada corporation and BHANG                      )
       CORPORATION, a Nevada corporation,                )    Date:         August 10, 2017
16                                                       )    Time:         9:30 a.m.
              Defendants.                                )    Courtroom:    C
17                                                       )
                                                         )
18

19           I, Chet Billingsley, declare as follows:
20           1.         I am the Chief Executive Officer of Mentor Capital, Inc. (“Mentor”) in the above
21   captioned matter.
22           2.         Except for such matters which are stated on information and belief, the matters
23   stated herein are known to me personally, and if called and sworn as a witness I could competently
24   testify thereto.
25   Bhang is Avoiding Paying Our Judgment
26           3.         Judgment issued in this Matter on December 29, 2016 in the amount of
27   $1,921,534.62 in favor of Mentor Capital and against Bhang Chocolate Company aka Bhang
28   Corporation.

                                           -1-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
        Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 2 of 24


1           4.      Interest continues to accrue on this judgment at the rate of 10% per annum.
2           5.      Upon receiving the judgment we contacted the judgment debtor’s counsel to see if
3    the judgment debtor would pay the judgment. We never received any response to that query.
4           6.      Since receiving the judgment, Plaintiff has been diligent in pursuing assets of the
5    judgment debtor in several states, including levying on known bank accounts (all of which accounts
6    have since been closed), levying on professionals with whom the judgment debtor worked, levying
7    on licensees which are using the judgment debtor’s trademarks and proprietary processes under
8    licenses from the judgment debtor, and levying on known business associates.
9           7.      To date I am informed and believe and thereon allege that the US Marshalls have
10   received a total of slightly more than $55,000, which is in the process of being transferred to us.
11          8.      Interest is accruing in this matter at a rate of about $500 per day or $15,000 per
12   month. Since December 29, 2016 almost $90,000 of interest has accrued on the judgment due.
13          9.      Mentor has initiated several asset searches for assets under the name of Bhang
14   Corporation and Bhang Chocolate Company, Inc. and such searches have returned no assets or
15   bank accounts opened or maintained in the name of either entity.
16          10.     I believe that Bhang is attempting to leave Bhang as an empty, judgment proof shell
17   by (i) fraudulently conveying assets from the business to its owners or third parties, (ii) trying to
18   skirt Mentor levies by asking that its licensees direct all payments to middlemen, (iii) setting up
19   company bank accounts in names other than Bhang, and (iv) transferring Bhang assets and
20   intellectual property to new entities owned by Bhang’s owners.
21          11.     For example, attached hereto as Exhibit A is a true and correct copy of a check dated
22   after our judgment, in the amount of $6,200 made payable to Crystal Cult LLC, which includes the
23   notation in the upper left corner, “SVR [Scott Van Rixel] Bhang.”
24          12.     I am informed and believe and thereon allege that Bhang has directed some licensees
25   to make payments to “The Chocolate Cartel,” a New Mexico Entity which includes as a principal
26   Tim Van Rixel, Scott Van Rixel’s brother.
27          13.     Attached hereto as Exhibit B is a true and correct copy of a printout from the web of
28   two pages of promotional information concerning The Chocolate Cartel with pictures of both Van

                                           -2-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
         Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 3 of 24


1    Rixel brothers.
2            14.       I am informed and thereon believe that Bhang has also entered into a joint venture
3    with the Cypress Hill musical group 1 and has, or is in the process of transferring, its assets into this
4    joint venture as a further attempt to avoid paying the Judgment entered against it.
5    Bhang’s Financials are Not Accurate
6            15.       I know that Bhang does not keep accurate financial records.
7            16.       Financial records given to me by Van Rixel during the short period of time that the
8    parties worked together in 2014 reference cash assets in an account labeled only as “Far and
9    Away”.
10           17.       Bhang CEO Scott Van Rixel also reported to me that some of the cash earned by
11   Bhang is kept off the books in either cash or gold form.
12           18.       None of the financial records disclosed to Mentor either during the time the parties
13   worked together or required to be produced as part of the prior action, show that the $1,500,000
14   received by Bhang from Mentor was properly reported on Bhang’s books.
15           19.       Mr. Van Rixel testified during his deposition in the underlying action that Bhang
16   received revenues of a few million dollars including tens of thousands of dollars per month from
17   the California vape licensee, just one of the multiple licensees manufacturing and distribution
18   Bhang products.
19           20.       Mr. Van Rixel testified at deposition that Bhang was able to satisfy a judgment in
20   favor of Mentor.
21           21.       Mr. Van Rixel has formed several other entities which are apparently operating in
22   the cannabis field, including Founding Fathers Hemp Co. (sometimes named Founding Fathers
23   Hemp Company) and CB Brands, LLC.
24           22.       Founding Fathers Hemp Co. is a Delaware corporation owned by Van Rixel and
25   operates out of the same address as Bhang.
26           23.       CB Brands, LLC is a Nevada limited liability company for which Van Rixel is listed
27

28   1
       That Bhang’s Scott Van Rixel and Cypress Hill’s DJ Muggs discussed in a March 6, 2017 video available on the
     Internet.
                                           -3-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
         Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 4 of 24


1    as the sole manager.
2    Bhang is Allowing Infringement of its Trademarks
3              24.   Founding Fathers Hemp Co. has registered or is in the process of registering with
4    the U.S. Patent and Trademark Office trade and service marks identical to those registered by
5    Bhang, including stylized designs mirroring the Bhang name and “B” logo. True and correct copies
6    of these registrations are attached hereto as Exhibit C.
7              25.   As Bhang does not manufacture or sell products directly, I believe that these trade
8    and service marks make up a substantial portion of the value of Bhang’s license agreements.
9              26.   Bhang has not made any efforts to oppose the registration of any of the similar
10   marks registered or attempted to be registered under the name of Founding Fathers Hemp Co.
11             27.   I believe that Bhang and Van Rixel will likely use this opportunity to further transfer
12   Bhang intellectual property to another entity, such as Founding Fathers or CB Brands, LLC.
13   Bhang Says It Is Not Receiving any Payments
14             28.   Bhang neither manufactures, produces, nor sells its branded products to end-users or
15   individual store-fronts, but rather relies upon licensees to produce and distribute its branded
16   products.
17             29.   An industry resource I’ve seen shows Bhang products being sold in at least 266
18   stores.
19             30.   Bhang claims on its own website that, “Bhang is in a lot of stores.”
20             31.   A license agreement between Bhang and a former licensee shows that the minimum
21   royalty fee due to Bhang is $30,000 per month.
22             32.   I have seen data from Brightfield Group’s brand tracker showing that, since the entry
23   of the Judgment, approximately $14 million in Bhang products have been sold, which should have
24   generated over $900,000 in royalties to Bhang. Attached hereto as Exhibit D is a true and correct
25   copy of the Brightfield Group reports with an analysis performed by Mentor on top. This data does
26   not include sales in Washington State, New Mexico, New York, Nevada, or outside the United
27   states.
28             33.   I have been in discussions with a woman named Jamie Pearson who introduced

                                           -4-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
        Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 5 of 24


1    herself to me as Director of Operations of Bhang. Ms. Pearson told me on June 14, 2017 that
2    Bhang is receiving no payments from any licensee.
3           34.     On a telephone conference on May 25, 2017 with Bhang co-owner Richard Sellers
4    and Ms. Pearson I was told three times by Richard Sellers that, “no money is coming into Bhang.”
5           35.     Mr. Sellers also opined that the value of Bhang was dropping like a rock and asked
6    what happened to Mentor’s judgment in the event of a bankruptcy.
7           36.     I am informed and thereon believe that Bhang licensees have been told to remit any
8    and all payments due from licensees to various third-parties including a Bhang employee named
9    Jamie Pearson and to a bank account ostensibly in the name of Scott Van Rixel.
10          37.     I am informed and thereon believe that Richard Sellers, one of Bhang Corporation’s
11   (together with Bhang Chocolate Company, Inc., “Bhang”) three shareholders and an officer and
12   director of Bhang, holds licenses to distribute Bhang products within California. I am informed
13   and thereon believe that Mr. Seller’s holds licenses in the names of Alta Supply, Inc. and
14   Therapeutic Living Collective.
15          38.     I am informed and thereon believe that Todd Winter, a lawyer representing Bhang
16   and Richard Sellers’ entities, has also been contacting licensees, claiming that the levies were not
17   properly served, and instructing the licensees not to turn over any funds to the US Marshal as
18   instructed by the levies. Bhang’s lawyer is further telling licensees that Mentor will soon be out of
19   business due to an action filed in Utah by family members of another of Bhang’s counsel so such
20   payments to Mentor are unnecessary.
21   Bhang Licensees Are Using Our Collection Efforts as a Reason to Not Pay Bhang.
22          39.     I am informed and believe and thereon allege that, since entry of the Judgment
23   against Bhang, several licensees have invoked termination provisions in their license agreements
24   which allow termination for cause, “if a substantial portion of such Party’s business is subject to
25   attachment or similar process”.
26          40.     I am informed and believe and thereon allege that some licensees have claimed
27   ‘offsets’ against money owed to Bhang. Mentor has no way to verify that these claimed offsets are
28   appropriate, or even valid.

                                           -5-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
        Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 6 of 24


1           41.     To date, to my knowledge Bhang has done nothing about these claims of offset or
2    license termination.
3    A Receiver May Pursue Assets that Bhang Likely Will Not
4           42.     In the arbitration in this matter it was undisputed that, upon receiving each tranche
5    of the $1,500,000 Mentor gave to Bhang, Bhang immediately distributed all of that money out to
6    Bhang’s three owners according to their pro rata ownership.
7           43.     Attached hereto as Exhibit E is a true and correct copy of a chart that illustrates the
8    pro rata transfer to the three Bhang owners.
9           44.     I am informed and thereon believe and thereon allege that some of these original
10   funds were likely used to purchase real property in Florida that has since been transferred to
11   separate entities managed by Van Rixel, representatives of Van Rixel, or successive layers of
12   entities which ultimately benefit Van Rixel.
13          45.     I am informed and believe and thereon allege that this distribution was a fraudulent
14   conveyance.
15          46.     I am informed and believe and thereon allege that in the event this transfer was
16   accounted for as compensation, Bhang did not properly account for such compensation or withhold
17   required withholding taxes.
18          47.     I am informed and believe and thereon allege that if this transfer was accounted for
19   as a distribution, then it was a distribution that rendered Bhang insolvent, and which should
20   therefore be repaid to Bhang.
21          48.     I am informed and believe and thereon allege that if this transfer was accounted for
22   as a loan, then this loan needs to be repaid so that Bhang can pay Mentor the full amount of the
23   judgment.
24          49.     In all of the above cases, Bhang has a right to recover this money from the
25   recipients, but since the recipients are the very persons running Bhang, as long as they are in
26   control of the judgment debtor this money will never be recovered, never accounted for properly,
27   and never available to pay Mentor’s judgment.
28          I declare under penalty of perjury under the laws of the State of California that the foregoing

                                           -6-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
        Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 7 of 24


1    is true and correct and that this Declaration was signed by the undersigned on June 29, 2017 at
2    Ramona, California.
3

4                                                      /Chet Billingsley/
                                                       Chet Billingsley
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                           -7-
     DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 8 of 24




                     EXHIBIT A
                 To Declaration of Chet Billingsley
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3: 14-cv-03630-LB
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 9 of 24
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 10 of 24




                     EXHIBITB
                 To Declaration of Chet Billingsley
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3:14-cv-03630-LB
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 11 of 24
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 12 of 24
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 13 of 24




                    EXHIBITC
                 To Declaration of Chet Billingsley
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3:14-cv-03630-LB
4112/2017
                           Case 3:14-cv-03630-LB Trademark
                                                  Document Electronic Search System (TESS)
                                                                 57-1 Filed 06/30/17 Page 14 of 24


                       I              I          I     I            I   I      I        I         I
               Home Site Index Search FAQ Glosszry Gui des Cont:acts eBusiness eBi:! iilerts News HelpI
   Trademarks > Trademark Electronic Search System (TESS)

 TESS was last updated on Wed Apr 12 03:47:44 EDT 2017


lifii@M4 ii+Mii 64§14!111r1aa@ 1i1;w1;1 Mt*Mm*f • =ii·Mi                                      -       1;s14;;;-
iii;AIM 1;o;;,: u Hiiil.J.51;4;;414
[L:OQc;~t] Please logout when you are done to release system resources allocated for you.

 I Start IList At:                           I         I
                                          OR Jump to record:                  Record 14 out of 35

      TSDR             ASSIGH Status        TTAB Status
                                                               (Us e the "Back" button of the Internet Browser to return to
 TESS)




 Word Mark                  BHANG
 Goods and
                            IC 043. US 100 101 . G & S: Bar and restaurant services
 Services
 Mark Drawing
                            (5) WORDS , LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Code
 Serial Number              86446763
 Filing Date                November 6, 2014
 Current Basis               1B
 Original Filing
                            1B
 Basis
 Published for
                            March 1, 2016
 Opposition
 Owner                      (APPLICANT) Founding Fathers Hemp Co., Inc. CORPORATION DELAWARE 529 W. San Francisco
                            Street Santa Fe NEW MEXICO 87501
 Attorney of Record Rod D. Baker
 Description of
                    Color is not claimed as a feature of the mark. The mark consists of the word "BHANG" in stylized script.
 Mark
 Type of Mark       SERVICE MARK
 Register           PRINCIPAL
 Live/Dead
                    LIVE
 Indicator


"411&1'1 IHt.iiiii '41§@1 iidg41@ iiil'@'•* Mft1@1UII -
111;11m ;44;,w n1;1w 1;.1 1w1


http://tmsearch.uspto.gov/bi n/showfield?f=doc&state=4807:z37mi .3.14                                                          1/2
4112/2017
                         Case 3:14-cv-03630-LB Trademark
                                                Document Electronic Search System (TESS)
                                                               57-1 Filed 06/30/17 Page 15 of 24
               United Stat~s Patent .:tnd Trade m ark Office



   Trademarks > Trademark Electronic Search System (TESS)

 TESS was last updated on Wed Apr 12 03:47:44 EDT 2017


"*Hi&i!S •i•i;+ MMM'd!' r;a;;•sMI IJMfl§* t1'4M'CUi •=i·i.WJ+
11u11.w r;uaw n11;;g ;;.;,;:;;
j Logout    IPlease logout when you are done to release system resources allocated for you.
 I Start IList At:                          I         I
                                       OR Jump to record:                    Record 12 out of 35

      TSDR            ASSIGH Status        TTAB Status
                                                              ( Us e the "Back" button of the Internet Browser to return to
 TESS)




            BHANG
 Word Mark                 BHANG
 Goods and                 IC 001. US 001005006 010 026 046. G & S: Disposable and reusable cartridges containing vaporizable
 Services                  nicotine, for use with battery powered electronic cigarettes

                           IC 034. US 002 008 009 017. G & S: Electronic cigarettes; tobacco and smokers' articles, namely,
                           smokeless nicotine e-cigarettes
 Standard
 Characters
 Claimed
 Mark Drawing
                           (4) STANDARD CHARACTER MARK
 Code
 Serial Number             86201026
 Filing Date               February 21 , 2014
 Current Basis             1B
 Original Filing
                            1B
 Basis
 Published for
                           July 1, 2014
 Opposition
 Owner                     (APPLICANT) Founding Fathers HC, Inc. CORPORATION DELAWARE 6815 Biscayne Blvd., Ste. 103
                           Miami FLORIDA 33138
 Attorney of Record Rod D. Baker
 Type of Mark              TRADEMARK
 Register                  PRINCIPAL
 Live/Dead
                           LIVE
 Indicator




http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4807:z37nni.3.12                                                            1/2
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 16 of 24




                    EXHIBITD
                 To Declaration of Chet Billingsley
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3:14-cv-03630-LB
                       Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 17 of 24




                         Easily Documented Bhang Royalties Since December 29, 2016 Judgment
                                                 (Data per Brightfield Group - Brand Tracker)



                                                                                                               Estimate
State                                                Jan-17          Feb-17         Mar-17         Apr-17         May-17


California - Concentrates State Retail Sales     $ 15,117,390 $15,283,147 $15,448,903 $15,614,660 $15,780,417
                          Bhang Market Share %          2.16%       2.06%       2.06%       2.06%       2.06%
(Normal Royalty 10%)      Bhang Retail Sales     $    326,536 $   314,833 $   318,247 $   321,662 $   325,077

          - Edibles      State Retail Sales      $ 29,802,629 $30,258,128 $30, 713,626 $31,169,125 $31,624,623
                         Bhang Market Share %           5.00%       4.33%        3.75%       3.46%       3.17%
(Normal Royalty 7%)      Bhang Retail Sales      $ 1,490,131 $ 1,310,177 $ 1,151,761 $ 1,078,452 $ 1,002,501

Michigan - Edibles       State Retail Sales      $ 11,322,432 $11,473,280 $11,624,127 $11, 774,975 $11,925,823
                         Bhang Market Share %           5.48%       5.23%       5.05%        4.96%       4.87%
{Normal Royalty 7%)      Bhang Retail Sales      $    620,469 $ 600,053 $ 587,018 $ 584,039 $ 580,788

Arizona   - Edibles      State Retail Sales      $   6,601,639 $ 6,837,023 $ 7,072,408 $ 7,307,792 $ 7,543,176                Total Since
                         Bhang Market Share %            7.81%       6.50%       5.19%       4.54%       3.89%                Dec29, 2016
(Normal Royalty 7%)      Bhang Retail Sales      $     515,588 $ 444,407 $ 367,058 $ 331,774 $ 293,430                            Judgment        Estimate to Date
                                                                                                                                                    6/22/2017

Total Bhang Monthly Retail Sales                 $   2,952,724   $ 2,669,469 $ 2,424,085       $ 2,315,926    $ 2,201,794     $    12,563,998       $14 Million


Normal 7% -10% Royalties on Gross to Bhang:      $    216,487    $    196,308   $    179,233   $    171,765   $    163,8781   $ 921,611 1           $1.0 Million

                                                                                                                        {Bhang 5 mth Royalties)
Not Included Above:                                                                                                    -- does not include June --
 Wasington, Colorado, New Mexico and New York include Bhang in "Other Brands"                                           -- does not include other revenue --
                                                                                                                       --does not include WA, CO, NM & NY --
                                                                                                                       - total 5 mth revenue estimate $2M -
                   Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 18 of 24



Brightfield Group -- Brand Tracker

(Bhang in California)

                                                                                                                                                                     b:l

             MMSl$J.1.1
       (Total USJ                                Medical                              rn1,aso.251    $1•0.978.030            1167.485,105      S191.354,086
       A.laska • TotN                            Recreational                         $22,952,930        $41,022,422          $48,735,570          S55,S69,82l
       Arizon• • Toh1I
       Mans.as· lotal                                                                 $1~803.369         $22264,131          S25.716,879           $29,203,890
       Celifomie los Angeles                              MU§.@k                      $21.489.315        $38,406,588          $45,627,900          S5~026,l60
       California • Oranga                                                            $25.787.178
                                             •   Concentrates                                            $46.087.'106         SS-4.753,480         562.556,621
       C1liforni1 - S.C-1~rMnto
                                                 Ed ibles
       California - ~ OieQO                                                           $11,140,695        $19,911,106          123,654,849          527,001,698
                                                 F1Qwo1
   •   Calitomii ·Total                                                            $111,0Sl,719 $308,610,185            $365,t?J,7114 $<117,112,471
                                                 Othon
       Colqrado - CO MT
       Cok>rado - CO Springs
       Colorado - Denver                              5utxale o
       Colorado - Total
                                                 Cartridges
       Conn111rticut - Total                     Crumble
       OC- Tota1
                                                 Other Conamtretes
                                                 Rosin




                            Groen >liy



                                                                                 ,,,. ..
                    California - San Diego                                                                        2..26 "              2.38%                2.31'
                         C mlifomia ·Total
                                                                     ,,,.,.                     2.0G"             2.16S                1.96%                1.53'.

                   Colorado - CO Mountain
                                                                     2.17 %      ,... ...       2.859'.           2.95 1'              2.75 %               2.16 '
                                                                     2.319rr     2.66"          3.35%             3.0S'K.              3,64%                3.o2 ~
                        Cotorado - Denver
                                                                     2.28"       2.28%          2.2B "            2A3 "                2.13 9'.             1.61 (
                                                                     2.30%       2.30"          2.30%             2'13%                2.16 1j(,            1.91 ~
                                                                     7.39'Jfi    7.78%          854 '.lfi         8.S<4'J6             7.69%                7.59 :
                               Cate o                                Z.19 "      V l4'l6        2.94"             l.16%                2.71 %               2.19 ~
                                Edib!H                               2..03 %     l.1'4%         Z.35'1(,          2.55S                2.15 %               1.69'
                                                                     2.&I "      2.512"-        l..4691'.         3.1S%                l .76%               3.36 '
                           Subcate or                                72.58"     70.91 'h       67.55'6           67.32?6              68A7%                7Z.63 ~
                                                                                                                                                              >
                               Crwnblo                Shattor

                                Resin                                                          litfiiMiMLi;gpw
                                                                                                            7.39%
                  Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 19 of 24



Brightfield Group -- Brand Tracker

{Bhang in California - continued)




          ;4.1.wu                                         Mork.ct
     (TotolUS)                                  Medkal                                                    $55.718.016          171,253,111         1114,616,699         59!
     Ala•ka- lotal                              RtertatiOf\il                           $68,486,646                                                                   s14-
                                                                                                          177.357,321        l11ll,331,20S       1120,728,093
     AriZQna - Toul
     Ar\:anHS. Total                                                    $16,015,313      $17,927,000      S23,383,077          127,657.724         134,1141,309         54l
     C.lifornia - tos Aog!Hes                                            13,476,192       $6.330,120
     CelifQmia - Orange
     Calitomi.:s • Sacrarnooto
                                                Concentnlt.s              $8.799,731    110.1sr..100
                                                                                                           $6.990,119
                                                                                                          $12.380,627
                                                                                                                               111,273,970
                                                                                                                               $14,395,012
                                                                                                                                                   '14,092,617
                                                                                                                                                   116.154,447          "'
                                                                                                                                                                        s1·,
                                            •   Edibles                  13,6114.763      $5,154,493       16.704,839           $7,567,348           19,913,128         11;
     California - Siln Di«go
                                                flower
 •   C•lifomi. - Total                          Others                  $48,239,611      SS3,983,003      166.659,997          $83,891,254       $104,615.173         Sl3~
     Colorado • CO MT
                                                                       S16J,J90,951    $209,563,256    $2A9,1H,996 $J19,36!1,664                $314,!161,465 $065,
     Colorado - CO Springs
     Colorado • Denver                                                                                                                                                  580
     Color~do • Total                                                                                                                                                 S1H
                                                Baked Goods                                                                                                                     v
     Con1WCticut - lotal                                                                                                                                                c,:
                                                Chocol11t1!                                                                                                              >
     DC -Total
                                                Drinks
                                                Oils & Sprays




                               Grnc rc1 ihv

                          C.llfoml• - Orange
                                                                                                                                                                   4.70%
                      Califomi11 - Sacramento
                                                                                                                                                                   8.69'Jb
                         Cellfom\a • Sat\ Otego                                                                                                                    4.63%
                           c.11rorno - Talat                               7.28'Jb      7.74 ..                          9.68'.l(I            9. 14 ~              8.99?b

                      Colorado • CO Mountain                               S.2S%        6.13 %          7.88 "           8.B5 %               8.00 %               7.76 %
                                                                           3.00 ....    3.56 "JI,       4.68 %.          S.l-4 'Mi            -4.61 w.             -4.39 -..
                                                                           3.1-4'JL     3.16 "'         3.21 '16         3.11"'               l.38 "'              l.S4 '11
                                                                           Z.13\'.      2.11 ..         2.1)9",          2.16')(,             2..17 1'             2.13 9(,
                                                                           3A2 '.lt,    3.41 %          3.40-X.          3.-42 w.             3.1'51CJt1           l.25 '.lt,
                                                                           6.58'J(,     6.67%           6.36 1'.         5.88%                S.72 \lli            5.72'.lt.
                               SuU(..rlteao                               55.3& %      52.49 '11       -46.72:%         ~3.61 ')6.           -46.02 "'            46.18';1b
                                                                                                                                                                       >
            AJI                  Chocolllt•           Savory Snedcs

      Baked Goods                  Orinks                Sugar Candy                                    Dft411:MijlQllW
                                                                                                                   7.31%
                   Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 20 of 24



Brightfield Group -- Brand Tracker

(Bhang in Michigan)


           44.1441
      Colorado · Dtnv9f                         Me<hc.al                  S6.098,3Q4        $1'.273,988       SZ0,925.579    $26,671,697    $33,525,299    541.234,l
      Colorado • Tolal
                                                                          $9,842.294        $19,967,672       $25,•~.781     $28, 198,267   $30,819.456    532.904,C
      Connecticut • Total
                                                                                            $10.470,392       $14,424,446    $17,367,925    $20.716,028    524.273,e
      Detawu~ • Total                                                                         S988,414         $1,205,909     Sl.269,679     $1,302,986     51,369,S
      Florkl:a· Total
                                             Concentrates                    $7,096           5361,962          $962,393      $1,701,527     $2,659,052     S3.833,2
      Hawaii · Total
                                           • Ed;bles                       1606,588          11.478,328        $2.240,382     $2.936,051     Sl.778.668     14.742.S
      Illinois· Total
                                                Flowet
      Kentucky · To~I                                                                       $28,867,978       $38,576,849    $45,052,803    $52,118,566    S59,22l,7
      LouiMana • Total
                                                Othors
      Maim~ · Total
      Massachusetts · Total
  •   Michigan • 1 otal
                                                Baked Goods
      M1ssou1i - Tot1I
                                                Chocolate
      Montana · Total
                                                Drinks
                                                Oils & Sprays




                                                                    -,
                                                                    c.J




                          Colorado • Denver                                                                                     SA89(,         3.9()'Jf,
                                                                                4.96'K,          S.05«>            5.2.l"                                      3.839
                          Cclorado · Et l'oeo
                           Colorado • Total
                                                                                3Jl0%
                                                                                S.09 ..
                                                                                                 l.61 'f{,
                                                                                                  S.03 '.tb       ...,..
                                                                                                                   l.ll"        4.08%
                                                                                                                                4.67 ')!.
                                                                                                                                               4.68%
                                                                                                                                               5.84'.lb
                                                                                                                                                               S.309
                                                                                                                                                               S.lS 'I
                                                                                6.13%            8.41 %           12.969'      14.12%         155891'.         !il.72.IJ
                           Michigan • To1111
                                                                                3.51 'lf.        3.45 91,          l.32"        l .62 ..       3.77%           4.719
                            Nev1d1 • Totlll
                                                                                an%              9.97%            1236%        13.89%         13.64%          15..76'1
                                                                                4..889f,          5.20'11',        S.83%        3.73 'I{,      2.60 ...         2.801
                               C.-i1C'qO                                        3.70%            <U.1%             5.23%       10.39%          3.n%            3.MCJ

      Concentrates               Edibles                   Othens               4.16%            4.18%             4.22%        455%           3.64%           3.68~


                                                                                3.42'iE.         l.42"             3A2%         3.13%          3.12%           3.989

                             SubcJteqo                                         51.57%            47.48%           39.29%       31.7<%         39.46%          41.249
                                                                                                                                                                 >
           All                 Chocolate            Savory Snacks

      Baked Goods                Drlnk1              .Sugar Candy                                                iiiflltfi1MJ116114
                                                                                                                            8.77%
                   Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 21 of 24



Brightfield Group -- Brand Tracker

(Bhang in Arizona)




          i§U.IJ!J                                       Market
     (Total US)                                Medical                                                                                                              $20.423,458
     Alaska - Total                                                                          $4,204,842           $9,13.4,116      515,S47,521      $23,297,998     $29,550,677
 •   Arizona - Total
                                                                            $271,453         $1,612.477           $3,534,533         $6,075,281       19,200,715    $11.868,659
     Arkansas • Total                                             El
     C1Hfomi.B - Los Angeles                                                  $26,810          $163,930             $370,280           $656,600       $1.027,151     $1,370,485
     California • Orange                      Concentrates                    $33,513          $183,471             $365,628           $561,192         $740,538       1962.129
     califomia - Sacramento
                                          •   Edibles                         $10,054              $61,867          $140,636           $250,981         $395.139       $530,601
     California - San Diego
                                              Flower
     Californ1.a Total                                                                       $6,264.156          $14,679,162                        $43,692.633     $60,302.729
                                              othors
     Colorado • CO MT
     Colorado - CO Springs
     Cotor1do • Cenver                             Subcatc orv
     Colorado · Total                         !Mk~Goods
     Conn9Cticut - Total                      Chocolate
     DC· Total
                                              Drinks
                                              Oils&Sprays




                            Geo rd h
                          Artzona - Total

                       California - Bay Aree

                   California - Los Angetn

                       Califomia - Orange                               4.41%           Hl19f.                2.92%             3.()6%             1.30%            1.D4!6         0.
                   California ~ Sacramento                              2.09'Jb         2.09'Jf.             2.09%
                                                                       19.77W.      19.n %                19.7791'.         2126W.                22..009'.        20AS%          19.
                                                                        2.78%           2.90"                 3.12%             3.0S%              2.94'.'b         2.75 'Jb       2.
                                                                        5.12%           5.42%                 6.03'.lb          5£i7'.K.           5.57%            6.27%          7.
                                                                        b.97%           7.56%                 &7S%              8.46%              as1 %            8.20%          9.
                                                                       13.97"L      1'.79%                   16.43'.\       1624._,               17.91%           18.25%         21.
                           5ub<cilC'(H1                                23.37?11     20.70%                   15.36%         14.70%                16.32%           16.11 'lb      12.
                                                                                                                                                                                  >
         All                 Chocolate            SavcrySnecb

     Baked Goods               Drinks              Sugar Candy                                                           MMlMHJil@llA
                                                                                                                                      19.77%
Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 22 of 24




                     EXHIBITE
                  To Declaration of Chet Billingsley
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3:14-cv-03630-LB
                             Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 23 of 24




                                                12-Mar-14      21-Mar-14     21-Mar-14       3-Apr-14      9-May-14
                                                  12823          12838         12839          12857        3571636           TOTAL
                   Total Amount
    Recipient          Received     Percent $    500,000.00   $ 228,150.00   $ 71,850.00   $ 500,000.00   $ 200,000.00   $   1,500,000.00
Scott Van Rixel    $   937,500.00    62.50% $    312,500.00   $142,593.75    $44,906.25    $ 312,500.00   $ 125,000.00   $     937,500.00
Richard Sellers    $   450,000.00    30.00% $    150,000.00   $ 68,445.00    $21,555.00    $150,000.00    $ 60,000.00    $     450,000.00
William Waggoner   $   112,500.00     7.50% $     37,500.00   $ 17,111.25    $ 5,388.75    $ 37,500.00    $ 15,000.00    $     112,500.00
     TOTAL         $ 1,500,000.00   100.00% $    500,000.00   $ 228,150.00   $71,850.00    $ 500,000.00   $ 200,000.00
        Case 3:14-cv-03630-LB Document 57-1 Filed 06/30/17 Page 24 of 24


1
                                      CERTIFICATE OF SERVICE
2

3            I am a citizen of the United States. My business address is 1342 Rollins Road, Burlingame,
     CA 94010. I am employed in the County of San Mateo, from which this service occurred. I am
4    over the age of 18 years, and am not a party to the above-captioned action. On the date below I
     served the following documents:
5
            DECLARATION OF CHET BILLINGSLEY IN SUPPORT OF MENTOR
6           CAPITAL, INC.’S MOTION TO APPOINT A RECEIVER
7           On the following person(s) in this action by:
8           [X]     E-SERVICE by filing the document listed above with the courts ECF service such
                    that all attorneys of record received Notice of Electronic Filing from the court clerk
9                   as follows:
10                  Jaime Bianca Herren     jherren@doylelow.com, mlow@doylelow.com
11
             I declare under penalty of perjury under the laws of the United States and State of California
12   that the above is true and correct. Executed on June 30, 2017 at Burlingame, California.
13
                                                            /s/ Megan Jeanne___________________
14                                                          Megan Jeanne
15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                                      -1-
     CERTIFICATE OF SERVICE – 3:14-cv-03630-LB
